
388 U.S. 443 (1967)
COBERT
v.
NEW YORK.
No. 21.
Supreme Court of United States.
Decided June 12, 1967.
ON PETITION FOR WRIT OF CERTIORARI TO THE COURT OF APPEALS OF NEW YORK.
Ephraim London for petitioner.
Frank S. Hogan for respondent.
PER CURIAM.
The petition for a writ of certiorari is granted and the judgment of the Court of Appeals of New York is reversed. Redrup v. New York, 386 U. S. 767.
THE CHIEF JUSTICE, MR. JUSTICE CLARK, and MR. JUSTICE BRENNAN would affirm.
MR. JUSTICE HARLAN adheres to the views expressed in his separate opinions in Roth v. United States, 354 U. S. 476, 496, and Memoirs v. Massachusetts, 383 U. S. 413, 455, and on the basis of the reasoning set forth therein would affirm.
